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     Guido Saveri (22349)
 1      guido@saveri.com
 2   R. Alexander Saveri (173102)
        rick@saveri.com
 3   Geoffrey C. Rushing (126910)
        grushing@saveri.com
 4   Cadio Zirpoli (179108)
        cadio@saveri.com
 5   Travis L. Manfredi (281779)
 6      travis@saveri.com
     SAVERI & SAVERI, INC.
 7   706 Sansome Street
     San Francisco, CA 94111
 8   Telephone: (415) 217-6810
     Facsimile: (415) 217-6813
 9

10   Lead Counsel for the Direct Purchaser Plaintiffs

11
                                 UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14
     IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV-07-5944-SC
15   ANTITRUST LITIGATION
     ____________________________________            MDL No. 1917
16   This Document Relates to:
                                                     DIRECT PURCHASER PLAINTIFFS’
17   Crago, d/b/a Dash Computers, Inc., et al. v.    MEMORANDUM OF POINTS AND
                                                     AUTHORITIES IN SUPPORT OF FINAL
     Mitsubishi Electric Corporation, et al., Case   APPROVAL OF CLASS ACTION
18   No. 14-CV-2058 (SC).                            SETTLEMENT WITH THOMSON
19                                                   DEFENDANTS

20                                                   Date:      October 23, 2015
                                                     Time:      10:00 a.m.
21                                                   Judge:     Honorable Samuel Conti
                                                     Courtroom: 1
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       DIRECT PURCHASER PLAINTIFFS’ MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.       INTRODUCTION
 3            Pursuant to Federal Rule of Civil Procedure 23(e) and the Court’s Order granting

 4   preliminary approval of the proposed settlement (Docket No. 3872), Direct Purchaser Class

 5   Plaintiffs (“Plaintiffs”) submit this memorandum in support of final approval of the settlement

 6   reached with Defendants Thomson SA (now known as Technicolor SA) Thomson Consumer

 7   Electronics, Inc. (now known as Technicolor USA, Inc.) (collectively “Thomson”); and

 8   Technologies Displays Americas LLC (formerly known as Thomson Displays Americas LLC)

 9   (“TDA”) (collectively “Settling Defendants” or “Thomson Defendants”). 1

10            There are no objections to the settlement on any ground. Nor has any class member (or

11   anyone else) filed a notice of intent to appear at the final approval hearing. Declaration of Ross

12   Murray in Support of Final Approval of Class Action Settlement (“Murray Decl.”) ¶ 10.

13            As explained in more detail below, the settlement provides a substantial benefit to the class

14   and should be finally approved as fair and reasonable. Among other things, the settlement provides

15   for payment to the class of $9,750,000 for a complete release of all class members’ claims.

16   Settlement Agreement ¶ 13. The Thomson Defendants have also agreed to cooperate with Plaintiffs

17   in the prosecution of the case against the last remaining defendant. Settlement Agreement ¶ 24.

18   Thomson’s sales also remain in the case for the purpose of computing damages against the

19   remaining defendant. Saveri Decl. ¶ 24.

20            This Court has already approved seven settlements with other Defendants in this MDL

21   proceeding (the Chunghwa Defendants, the Philips Defendants, the Panasonic Defendants, the LG

22   Defendants, the Toshiba Defendants, the Hitachi Defendants, and the Samsung SDI Defendants).

23   Saveri Decl. ¶ 2.

24

25   1
       As provided in the Settlement Agreement, the inclusion of both Thomson and TDA among
     “Thomson Defendants” should not be construed to suggest, for purposes of this Action or any
26   related proceedings, that Thomson and TDA are in any way related entities, have any authority to
     speak on behalf of the other, or share liability of defenses for any alleged conduct of the other. The
27   Settlement Agreement, dated February 6, 2015, is attached as Exhibit 1 to the accompanying
     Declaration of R. Alexander Saveri in Support of Final Approval of Class Action Settlement with
28   Thomson Defendants (“Saveri Decl.”).
                                                         1
          DIRECT PURCHASER PLAINTIFFS’ MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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 1            The Court preliminarily approved this settlement on June 12, 2015. Docket No. 3872. On

 2   that date, the Court also certified a Settlement Class, appointed Plaintiffs’ Interim Lead Counsel as

 3   Settlement Class Counsel, approved the manner and form of providing notice of the Settlement to

 4   class members, established a timetable for publishing class notice and set a hearing for final

 5   approval. Dkt. No. 3872.

 6            Plaintiffs have given notice to the class as ordered by the Court. As noted, no objections

 7   were received. Murray Decl. ¶ 10.

 8            Plaintiffs respectfully request that the Court grant final approval of the Settlement on the

 9   grounds that it is fair, adequate, and reasonable to the class. Plaintiffs also ask that the Court

10   approve the plan of distribution of the settlement proceeds to the class.

11   II.      FACTUAL AND PROCEDURAL HISTORY

12            This multidistrict litigation arises from an alleged conspiracy to fix prices of Cathode Ray

13   Tubes (“CRTs”). Saveri Decl. ¶ 3. In November of 2007, the first direct purchaser plaintiff filed a

14   class action complaint on behalf of itself and all others similarly situated alleging a violation of

15   Section 1 of the Sherman Act, 15 U.S.C. § 1, and Section 4 of the Clayton Act, 15 U.S.C. § 15. Id.

16   Thereafter, additional actions were filed in other jurisdictions. Id. The Judicial Panel on

17   Multidistrict Litigation (“JPML”) transferred all related actions to this Court on February 15, 2008.

18   Dkt. No. 122; Saveri Decl. ¶ 3. On May 9, 2008, Saveri & Saveri, Inc. was appointed Interim Lead

19   Class Counsel for the nationwide class of direct purchasers. Dkt. No. 282; Saveri Decl. ¶ 3.

20            On March 16, 2009, Plaintiffs filed the Consolidated Amended Complaint (“CAC”)

21   alleging an over-arching horizontal conspiracy among the Defendants and their co-conspirators to

22   fix prices for CRTs and to allocate markets and customers for the sale of CRTs in the United States

23   from March 1, 1995 through November 25, 2007 (the “Class Period”). Saveri Decl. ¶ 4. The CAC

24   alleges that Plaintiffs and members of the Class are direct purchasers of CRTs and/or CRT

25   Finished Products from Defendants and/or their subsidiaries and were injured because they paid

26   more for CRTs and/or CRT Finished Products than they would have absent Defendants’ illegal

27   conspiracy. CAC ¶¶ 213–221; Saveri Decl. ¶ 4. Plaintiffs seek, inter alia, treble damages pursuant

28   to Section 4 of the Clayton Act, 15 U.S.C. §§ 15 and 22. CAC at p. 47; Saveri Decl. ¶ 4.
                                                      2
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 1          Defendants filed several motions to dismiss the CAC on May 18, 2009. See Dkt. Nos. 463–

 2   493; Saveri Decl. ¶ 5. On March 30, 2010, this Court entered its Order approving and adopting

 3   Judge Legge’s previous ruling and recommendations granting in part and denying in part

 4   Defendants’ Motion to Dismiss. Dkt. No. 665; Saveri Decl. ¶ 5. On April 29, 2010, Defendants

 5   answered the CAC. Saveri Decl. ¶ 5.

 6          On March 12, 2010, after the partial stay of discovery was lifted, Plaintiffs propounded

 7   their Second Set of Document Requests and First Set of Interrogatories. Saveri Decl. ¶ 6. On

 8   October 27, 2011, after extensive meet and confers and several motions to compel, the Court issued

 9   its Report Regarding Case Management Conference No. 4 in which it set the middle of December,

10   2011 as the deadline for the completion of substantial discovery by all parties. Dkt. Nos. 1007,

11   1008; Saveri Decl. ¶ 6. Plaintiffs have now received over 5 million pages of documents produced

12   by Defendants. Saveri Decl. ¶ 6.

13          On March 21, 2011, pursuant to FRCP 11, certain Defendants moved to strike allegations

14   of a finished product conspiracy from the CAC. Dkt. No. 880; Saveri Decl. ¶ 7. After a hearing, the

15   Special Master recommended that the motion be granted and that Plaintiffs’ allegations of a

16   finished products conspiracy be stricken from the complaint. Dkt. No. 947; Saveri Decl. ¶ 7. The

17   Special Master also recommended that “the issue of the possible impact or effect of the alleged

18   fixing of prices of CRTs on the prices of Finished Products shall remain in the case, and is a proper

19   subject of discovery.” Dkt. No. 947 at 14; Saveri Decl. ¶ 7.

20          On June 29, 2011, Defendants moved the Court to adopt the Special Master’s Report and

21   Recommendation (Dkt. No. 953), and Plaintiffs filed an objection (Dkt. No. 957). Saveri Decl. ¶ 8.

22   The Court set the matter for hearing on September 2, 2011. Dkt. No. 968; Saveri Decl. ¶ 8. Prior to

23   the hearing, on August 26, 2011, the parties entered into a stipulation providing, among other

24   things: (1) that the Special Master’s recommended finding that Plaintiffs violated Rule 11 be

25   vacated; (2) that certain other aspects of the Special Master’s recommendations be adopted; and (3)

26   that Plaintiffs’ “allegations of the Direct CAC purporting to allege a conspiracy encompassing

27   Finished Products are Stricken from the Direct CAC, provided, however, that the issue of the

28   possible impact or effect of the alleged fixing of prices of CRTs on the prices of Finished Products
                                                        3
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 1   shall remain in the case.” Saveri Decl. ¶ 8. Plaintiffs agreed to withdraw discovery requests

 2   regarding the CRT Finished Product Conspiracy claims. Saveri Decl. ¶ 8. Defendants agreed that

 3   the issue of the impact of the CRT conspiracy on the prices of the Finished Products would remain

 4   in the case. Dkt. No. 996; Saveri Decl. ¶ 8.

 5           On December 12, 2011 Defendants moved for Summary Judgment against Plaintiffs who

 6   purchased CRT Finished Products only. Dkt. No. 1013; Saveri Decl. ¶ 9. Plaintiffs and the Direct

 7   Action Plaintiffs (“DAPs”) opposed the motion. Saveri Decl. ¶ 9. On March 20, 2012, Judge Legge

 8   heard argument from all parties. Id. On May 31, 2012, the Special Master issued his Report and

 9   Recommendation that the Court grant Defendants’ motion for summary judgment and that

10   judgment be entered against certain plaintiffs that purchased CRT Finished Products from

11   defendants (“R&R”). Dkt. No. 1221; Saveri Decl. ¶ 9.

12           The parties filed briefs in support and in opposition to adoption of the R&R. Saveri Decl.

13   ¶ 10. On November 29, 2012, the Court entered the Order Granting in Part and Denying in Part

14   Defendants’ Joint Motion for Summary Judgment (Dkt. No. 1470) (“Order”); Saveri Decl. ¶ 10.

15   The Court found that Plaintiffs that purchased a Finished Product, were “in fact indirect purchasers

16   for purposes of antitrust standing.” Order at 6; Saveri Decl. ¶ 10. The Court further found that one

17   of the three exceptions that permit indirect purchasers to pursue private treble-damages claims,

18   outlined by the Ninth Circuit Court of Appeals in In re ATM Fee Antitrust Litig., 686 F.3d 741 (9th

19   Cir. 2012), could apply to Plaintiffs. Saveri Decl. ¶ 10. The Court ruled that the “Ownership and

20   Control Exception” created in Royal Printing Co. v. Kimberly-Clark Corp., 621 F.2d 323 (9th Cir.

21   1980), conferred standing on Plaintiffs to sue “insofar as they purchased [Finished Products]

22   incorporating the allegedly price-fixed CRTs from an entity owned or controlled by any allegedly

23   conspiring defendant.” Order at 16; Saveri Decl. ¶ 10. Certain defendants filed a motion under 28

24   U.S.C. section 1292(b) requesting that the Court certify the Order for interlocutory appeal. Dkt.

25   No. 1499; Saveri Decl. ¶ 10. The Court denied defendants’ request. Dkt. No. 1569; Saveri Decl.

26   ¶ 10.

27           As the case progressed against the Defendants, Plaintiffs developed evidence that they

28   believed established that two additional corporate groups—Mitsubishi and Thomson—also
                                                       4
       DIRECT PURCHASER PLAINTIFFS’ MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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 1   participated in the alleged conspiracy. DPPs had tolling agreements with each group which had

 2   been entered into in 2008. Saveri Decl. ¶ 11.

 3          On May 20, 2014, Plaintiffs filed their First Amended Direct Purchaser Plaintiffs’ Class

 4   Action Complaint Against Mitsubishi, Thomson, and TDA (“Mitsubishi/Thomson Complaint”).

 5   Crago, d/b/a Dash Computers, Inc., et al. v. Mitsubishi Elec.Corp., et al., Case No. 14-CV-2058

 6   (SC) (N.D. Cal.) (Dkt. No. 14-3). Plaintiffs filed a motion for class certification on November 7,

 7   2014. After the motion was filed, Plaintiffs and the Thomson Defendants reached the settlement

 8   before the Court. On July 8, 2015, after full briefing, the Court granted DPPs’ motion for class

 9   certification against Mitsubishi. Dkt. No. 3902. DPPs’ motion to authorize notice to the class (Dkt.

10   No. 3944) is pending. Saveri Decl. ¶ 12.

11          As with previous settlements, Plaintiffs hired Gilardi & Co, LLC (“Gilardi”) to serve as the

12   Settlement Administrator. Murray Decl. ¶ 1. In accordance with the Court’s order of preliminary

13   approval, on June 26, 2015, Gilardi mailed and e-mailed notice to each class member identified by

14   Defendants. Murray Decl. ¶¶ 4–5. On June 29, 2015, the Summary Notice was published in the

15   New York Times and the Wall Street Journal. Id. ¶ 8. A website was also established at

16   www.CRTDirectPurchaserAntitrustSettlement.com, which contains copies of the Settlement

17   Agreement, Class Notice, and Preliminary Approval Order. Id. ¶ 6. On or before June 26, 2015,

18   Gilardi caused the “Frequently Asked Questions” and “Dates to Remember” pages of the website

19   www.CRTDirectPurchaserAntitrustSettlement.com to be updated with all deadlines relevant to the

20   Thomson/TDA settlement, as well as the Fairness Hearing date. Id. The deadline for objections to

21   the Settlement, requests for exclusion from the Settlement Class, and filing of notices of intent to

22   appear at the fairness hearing was August 10, 2015. Id. ¶¶ 9–10. Gilardi received sixteen (16)

23   requests for exclusion and no objections. Id. No notices of intent to appear at the fairness hearing

24   were filed or sent to Gilardi. Id. ¶ 9; Saveri Decl. ¶ 21.

25          On October 19, 2012, the Court granted final approval of the first two settlements reached

26   in DPP’s initial case with: (1) Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes

27   (Malaysia) Sdn. Bhd. (“CPT”) ($10 million), and (2) Koninklijke Philips Electronics N.V., Philips

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       DIRECT PURCHASER PLAINTIFFS’ MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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 1   Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips

 2   Da Amazonia Industria Electronica Ltda. (“Philips”) ($15 million). Saveri Decl. ¶ 13.

 3           On December 27, 2012, the Court granted final approval of a third settlement with

 4   Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.), Panasonic Corporation of

 5   North America, and MT Picture Display Co., Ltd., (“Panasonic”) for $17.5 million. Saveri Decl.

 6   ¶ 14.

 7           On April 1, 2013, the Court granted final approval of a fourth settlement with defendants

 8   LG Electronics, Inc., LG Electronics USA, Inc., and LG Electronics Taiwan Taipei Co., Ltd.

 9   (“LG”) for $25 million. Saveri Decl. ¶ 15.

10           On July 23, 2013, the Court granted final approval of a fifth settlement with defendants

11   Toshiba Corporation, Toshiba America Information Systems, Inc., Toshiba America Consumer

12   Products, L.L.C., and Toshiba America Electronic Components, Inc. (“Toshiba”) for $13.5 million.

13   Saveri Decl. ¶ 16.

14           On July 22, 2015, the Court granted final approval of the sixth and seventh settlements

15   with: (1) Defendants Hitachi, Ltd.; Hitachi Displays, Ltd. (n/k/a Japan Display Inc.) (“Hitachi

16   Displays”); Hitachi America, Ltd.; Hitachi Asia, Ltd.; Hitachi Electronic Devices (USA) Inc.

17   (collectively, “Hitachi”) ($13,450,000); and (2) Defendants Samsung SDI Co. Ltd. (f/k/a Samsung

18   Display Devices Co., Ltd.); Samsung SDI America, Inc.; Samsung SDI Brasil, Ltd.; Tianjin

19   Samsung SDI Co., Ltd.; Samsung Shenzhen SDI Co., Ltd.; SDI Malaysia Sdn. Bhd.; SDI Mexico

20   S.A. de C.V. (collectively, “Samsung SDI”) ($33,000,000). Saveri Decl. ¶ 17.

21           In the seven previous settlements, the Court certified a Settlement Class, appointed Saveri

22   & Saveri, Inc. as Settlement Class Counsel, and found that the manner and form of providing

23   notice of the settlements to class members was the best notice practicable under the circumstances

24   (see Dkt. Nos. 1412, 1508, 1621, 1791, 2311, 2534), and the Court entered final judgments of

25   dismissal with respect to the settling (and released) defendants (see Dkt. Nos. 1413, 1414, 1509,

26   1510, 1622, 1792, 3932, 3933); Saveri Decl. ¶ 18.

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       DIRECT PURCHASER PLAINTIFFS’ MEMO ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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 1   III.   THE TERMS OF THE SETTLEMENT

 2          In exchange for dismissal with prejudice and a release of all claims asserted in the FAC,

 3   Thomson has agreed to pay $9,750,000 in cash to settle all direct purchaser claims against it.

 4   Saveri Decl. ¶ 23. The funds have been deposited into a guaranteed escrow account pursuant to the

 5   Settlement Agreement. Id.

 6          In addition, Thomson has agreed to cooperate with Plaintiffs in the prosecution of this

 7   action by: (1) providing copies of all discovery (including, inter alia, all documents,

 8   interrogatories, requests for admission, etc.) Thomson produces to any other party in the Action;

 9   (2) providing a declaration and/or custodian establishing the authenticity of Thomson’s

10   transactional data, and foundation of any Thomson document or data needed at summary judgment

11   or trial; (3) allowing Counsel to question percipient witnesses noticed for deposition by any other

12   party in the Action with whom Thomson has not settled; and (4) using its best efforts to make

13   available two persons for trial testimony, each of whom is, at the time of trial, a director, officer,

14   and/or employee of Thomson whom Lead Counsel reasonably believes to have knowledge

15   regarding Plaintiffs’ claims. Saveri Decl. ¶ 25.

16          Moreover, Thomson’s sales remain in the case for the purpose of computing Plaintiffs’

17   claims against the remaining non-settling Defendants. Saveri Decl. ¶ 24.

18          The Settlement between Plaintiffs and Thomson resolves all claims related to CRT Products

19   (i.e., CRTs and CRT Finished Products) brought by Plaintiffs against Thomson and entities that are

20   defined in the Settlement Agreement to be “Thomson Releasees.” Saveri Decl. ¶ 20. Upon the

21   Settlement becoming final, Plaintiffs and Class members will relinquish any claims against Settling

22   Defendants as described in paragraph 13 of the Settlement Agreement. Saveri Decl., Ex. 1

23   (paragraph 13 of the Settlement Agreement). The release, however, excludes claims for product

24   defects or personal injury or breach of contract arising in the ordinary course of business or indirect

25   purchaser claims for CRT Products that were not purchased directly from Defendants or their

26   alleged co-conspirators. Id.

27          CRTs are defined to mean Cathode Ray Tubes of any type (e.g., color display tubes and

28   color picture tubes). Saveri Decl. ¶ 19. CRT Finished Products are those products that when
                                                       7
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 1   finished contain Cathode Ray Tubes—such as televisions and computer monitors. CRT Products

 2   means CRTs and/or CRT Finished Products. Id.

 3          The Thomson Settlement becomes final upon: (i) the Court’s approval of the Settlement

 4   pursuant to Rule 23(e) and the entry of a final judgment of dismissal with prejudice as to the

 5   Settling Defendants; and (ii) the expiration of the time for appeal or, if an appeal is taken, the

 6   affirmance of the judgment with no further possibility of appeal. Saveri Decl., Ex. 1 (paragraph 11

 7   of the Settlement Agreement).

 8          Subject to the approval and direction of the Court, the Settlement payment will be used to:

 9   (i) make a distribution to Class members in accordance with a proposed plan of allocation to be

10   approved by the Court (Saveri Decl., Ex. 1 (paragraph 21 of the Settlement Agreement)); (ii) pay

11   Class Counsel’s attorneys’ fees, costs, and expenses as may be awarded by the Court (Saveri Decl.,

12   Ex. 1, (paragraphs 22 and 23 of the Settlement Agreement)); and (iii) pay all taxes associated with

13   any interest earned on the escrow account. Saveri Decl., Ex. 1, (paragraph 17(f) of the Settlement

14   Agreement). In addition, the settlement provides that $300,000 may be used to pay for Notice costs

15   and future costs incurred in the administration and distribution of the Settlement payments. Saveri

16   Decl., Ex. 1, (paragraph 19(a) of the Settlement Agreement).

17          The settlement also allowed the Thomson Defendants, within a specified time, to terminate

18   it if class members representing more than a specified amount of purchases opted out of the

19   settlement. Thomson has not exercised this option, and the time to do so has expired. Settlement

20   Agreement ¶ 18(a).

21   IV.    ARGUMENT

22          A class action may not be dismissed, compromised, or settled without the approval of the

23   Court. Judicial proceedings under Federal Rule of Civil Procedure 23 have led to a defined

24   procedure and specific criteria for class action settlement approval. The Rule 23(e) settlement

25   approval procedure includes three distinct steps:

26          1.      Certification of a settlement class and preliminary approval of the proposed

27                  settlement;

28          2.      Dissemination of notice of the settlement to all affected class members; and
                                                       8
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 1           3.      A formal fairness hearing, also called the final approval hearing, at which class

 2                   members may be heard regarding the settlement, and at which counsel may

 3                   introduce evidence and present argument concerning the fairness, adequacy, and

 4                   reasonableness of the settlement.

 5   This procedure safeguards class members’ due process rights and enables the Court to fulfill its

 6   role as the guardian of class interests. See 4 Albert Conte & Herbert Newberg, Newberg on Class

 7   Actions §§ 11.22, et seq. (4th ed. 2002) (“Newberg”).

 8           A.      The Settlement Class

 9           The Court here completed the first step in the settlement approval process when it granted

10   preliminary approval of the Settlement.

11           With respect to the Thomson Settlement, the Court certified a Settlement Class consisting

12   of:

13           All persons and entities who, between March 1, 1995 and November 25, 2007,
             directly purchased a CRT or a CRT Product in the United States from any
14           Defendant or any subsidiary or affiliate thereof, or any co-conspirator. Excluded
             from the Class are defendants, their parent companies, subsidiaries and affiliates,
15           any co-conspirators, all governmental entities, and any judges or justices assigned to
16           hear any aspect of this action.

17   The term CRT Products refers to all forms of Cathode Ray Tubes (CRTs), as well as to devices

18   that contain CRTs. Thus, CRT Products include color picture tubes (CPTs), color display tubes

19   (CDTs), monochrome display tubes, and also the finished products that contain them—televisions

20   and monitors. Dkt. No. 3872.

21           The Class definition encompasses those who bought a CRT Product directly from a

22   Defendant and Co-Conspirator, even if the CRT contained therein was manufactured by an

23   affiliated entity, principal, agent, or co-conspirator.

24           This Settlement Class is substantially the same as the seven settlement classes already

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                                                         9
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 1   certified by the Court. 2

 2
             B.      The Court-Approved Notice Program Satisfies Due Process and Has Been
 3                   Fully Implemented.

 4           The second step in the settlement process has also been completed. The Court-approved

 5   notice plan has been successfully implemented and class members have been notified of the

 6   Settlement.

 7           When a proposed class action settlement is presented for court approval, the Federal Rules

 8   require:

 9           [T]he best notice that is practicable under the circumstances, including individual
             notice to all members who can be identified through reasonable effort. The notice
10           must clearly and concisely state in plain, easily understood language: (i) the nature
             of the action; (ii) the definition of the class certified; (iii) the class claims, issues, or
11           defenses; (iv) that a class member may enter an appearance through an attorney if
12           the member so desires; (v) that the court will exclude from the class any member
             who requests exclusion; (vi) the time and manner for requesting exclusion; and (vii)
13           the binding effect of a class judgment on members under Rule 23(c)(3).

14   Fed. R. Civ. P. 23(c)(2)(B).
15           A settlement notice is a summary, not a complete source, of information. See, e.g., Petrovic
16   v. Amoco Oil Co., 200 F.3d 1140, 1153 (8th Cir. 1999); In re “Agent Orange” Prod. Liability
17   Litig., 818 F.2d 145, 170 (2d Cir. 1987), cert. denied, 484 U.S. 1004 (1988); Mangone v. First USA
18   Bank, 206 F.R.D. 222, 233 (S.D. Ill. 2001). This circuit requires a general description of the
19   proposed settlement in such a notice. Churchill Vill. L.L.C. v. Gen. Elec. Co., 361 F.3d 566, 575
20   (9th Cir. 2004); Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1374-75 (9th Cir. 1993); Mendoza
21   v. United States, 623 F.2d 1338, 1351 (9th Cir. 1980), cert. denied sub nom. Sanchez v. Tuscon
22   Unified School District, 450 U.S. 912 (1981).
23           The notice plan approved by this Court is commonly used in class actions like this one. It
24
     2
      See Dkt. Nos. 1179, 1280, 1441, 1603, 2311, 2534 (orders granting preliminary approval to CPT,
25
     Philips, Panasonic, LG, Toshiba, Hitachi, and Samsung SDI settlements); Dkt. Nos. 1412, 1508,
26   1621, 1791, 2311, 2534 (orders granting final approval to CPT, Philips, Panasonic, LG, Toshiba,
     Hitachi, and Samsung SDI settlements). While the class definition is slightly different than in the
27   other settlements—it expressly includes purchasers from Thomson, Mitsubishi, and TDA and their
     co-conspirators—Plaintiffs believe that the actual class members are substantially identical to the
28   previous settlement classes.
                                                      10
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 1   constitutes valid, due and sufficient notice to class members, and is the best notice practicable

 2   under the circumstances. The content of the court-approved notice complies with the requirements

 3   of Rule 23(c)(2)(b). Both the summary and long-form notices clearly and concisely explained in

 4   plain English the nature of the action and the terms of the Settlement. They provided a clear

 5   description of who is a member of the class and the binding effects of class membership. They

 6   explained how to exclude oneself from the class, how to object to the Settlement, how to obtain

 7   copies of papers filed in the case and how to contact Class counsel. See Murray Decl., Exs. A, B.

 8   The notices also explained that they provided only a summary of the Settlement, that the settlement

 9   agreement was on file with the District Court, and that the settlement agreement was available

10   online at: www.CRTDirectPurchaserAntitrustSettlement.com. See Murray Decl., Exs. A, B.

11   Consequently every provision of the Settlement was available to each class member.

12          The notice plan was implemented by the settlement administrator Gilardi & Co. LLC.

13   Murray Decl. ¶ 1. Specifically, Gilardi printed and mailed 16,914 notices to class members through

14   U.S. Mail and electronically mailed notices to 873 unique electronic mail addresses of class

15   members. Murray Decl. ¶¶ 4–5. Gilardi also published notice in the June 29, 2015 editions of the

16   New York Times and the Wall Street Journal. Murray Decl. ¶ 8, Ex. B. Gilardi also maintains the

17   case website, at which class members can view and print the Class Notice, the Settlement

18   Agreement, and the Preliminary Approval Order. Murray Decl. ¶ 6. Gilardi also established a toll-

19   free telephone number to answer Class members’ questions in both English and Spanish. Murray

20   Decl. ¶ 7.

21          The notice plan is substantially similar to the notice plan approved by the Court for the

22   CPT, Philips, Panasonic, LG, Toshiba, Hitachi, and Samsung SDI settlements. Saveri Decl. ¶ 28.

23   The only significant difference is that the Thomson summary notice was published in two

24   newspapers instead of one.

25
            C.      The Settlement Is “Fair, Adequate And Reasonable” and Should Be Granted
26                  Final Approval.

27          The law favors the compromise and settlement of class action suits. See, e.g., Churchill

28   Village, 361 F.3d at 576; Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992).
                                                        11
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 1   “[T]he decision to approve or reject a settlement is committed to the sound discretion of the trial

 2   judge because he is ‘exposed to the litigation and their strategies, positions and proof.’” Hanlon v.

 3   Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1988) (quoting Officers for Justice v. Civil Serv.

 4   Comm’n, 688 F.2d 615, 626 (9th Cir. 1982)). In exercising such discretion, courts should give

 5   “proper deference to the private consensual decision of the parties . . . . ‘[T]he court’s intrusion

 6   upon what is otherwise a private consensual agreement negotiated between the parties to a lawsuit

 7   must be limited to the extent necessary to reach a reasoned judgment that the agreement is not the

 8   product of fraud or overreaching by, or collusion between, the negotiating parties, and that the

 9   settlement, taken as a whole, is fair, reasonable and adequate to all concerned.’” Hanlon, 150 F.3d

10   at 1027 (citation omitted).

11           It is well established in the Ninth Circuit that “voluntary conciliation and settlement are the

12   preferred means of dispute resolution.” Officers for Justice, 688 F.2d at 625. “[T]here is an

13   overriding public interest in settling and quieting litigation” and this is “particularly true in class

14   action suits. . . .” Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976); see also

15   Utility Reform Project v. Bonneville Power Admin., 869 F.2d 437, 443 (9th Cir. 1989). In

16   evaluating a proposed class action settlement, the Ninth Circuit has recognized that:

17           [T]he universally applied standard is whether the settlement is fundamentally fair,
             adequate and reasonable. The district court’s ultimate determination will necessarily
18           involve a balancing of several factors which may include, among others, some or all
             of the following: the strength of plaintiffs’ case; the risk, expense, complexity, and
19           likely duration of further litigation; the risk of maintaining class action status
20           throughout the trial; the amount offered in settlement; the extent of discovery
             completed, and the stage of the proceedings; the experience and views of counsel;
21           the presence of a governmental participant; and the reaction of the class members to
             the proposed settlement.
22
     Officers for Justice, 688 F.2d at 625 (citations omitted); accord Torrisi, 8 F.3d at 1375.
23
             The court is entitled to exercise its “sound discretion” when deciding whether to grant final
24
     approval. Ellis v. Naval Air Rework Facility, 87 F.R.D. 15, 18 (N.D. Cal. 1980), aff’d, 661 F.2d
25
     939 (9th Cir. 1981); Torrisi, 8 F.3d at 1375. “Where, as here, a proposed class settlement has been
26
     reached after meaningful discovery, after arm’s length negotiation, conducted by capable counsel,
27

28
                                                         12
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 1   it is presumptively fair.” M. Berenson Co. v. Faneuil Hall Marketplace, Inc., 671 F. Supp. 819, 822

 2   (D. Mass. 1987).

 3                  1.      The Settlement Provides a Considerable Benefit to the Class

 4          The consideration for the Settlement is substantial and provides a considerable benefit for

 5   the class. The Thomson Settlement provides for a payment of $9,750,000. See Saveri Decl. ¶ 23.

 6   The Settlement also compares favorably to settlements finally approved in other price-fixing cases.

 7   See, e.g., Fisher Bros. v. Mueller Brass Co., 630 F. Supp. 493, 499 (E.D. Pa. 1985) (recoveries

 8   equal to .1%, .2%, 2%, .3%, .65%, .88%, and 2.4% of defendants’ total sales).

 9          The cash payment of $9,750,000 is an excellent recovery for the class, in light of the

10   serious obstacles Plaintiffs would face enforcing a judgment against Thomson. Thomson Consumer

11   is not profitable as it is largely a holding company and has no material assets other than its interest

12   in its U.S. subsidiaries. It has substantial debts and its most recent tax returns show the

13   consolidated group in the U.S. has suffered substantial tax and operating losses.

14          Enforcement of a judgment against Thomson SA, a French company, in France would also

15   present obstacles. That proceeding could take several years and it is possible that the French court

16   would refuse to enforce the judgment.

17          Thomson could also seek insolvency protection, further precluding or delaying recovery by

18   Plaintiffs. Thomson SA just emerged from French bankruptcy proceedings in July 2014, but it

19   could return to bankruptcy at any juncture. Under French law, Thomson SA also has the option of

20   filing for pre-judgment bankruptcy proceedings.

21          Collection of a judgment against TDA would also be difficult. It is a small company with

22   few assets and significant debt.

23          Further, the Settlement calls for Thomson to cooperate with Plaintiffs. Saveri Decl. ¶ 25.

24   This is a valuable benefit because it will save time, reduce costs, and provide access to information,

25   witnesses, and documents regarding the CRT conspiracy that might otherwise not be available to

26   Plaintiffs. See In re Mid-Atlantic Toyota Antitrust Litig., 564 F. Supp. 1379, 1386 (D. Md. 1983) (a

27   defendant’s agreement to cooperate with plaintiffs “is an appropriate factor for a court to consider

28   in approving a settlement”). “The provision of such assistance is a substantial benefit to the classes
                                                        13
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 1   and strongly militates toward approval of the Settlement Agreement.” In re Linerboard Antitrust

 2   Litig., 292 F. Supp. 2d 631, 643 (E.D. Pa. 2003). See also In re Corrugated Container Antitrust

 3   Litig., Case No. M.D.L. 310, 1981 WL 2093, at *16 (S.D. Tex. June 4, 1981) (“Corrugated

 4   Container”) (“The cooperation clauses constituted a substantial benefit to the class.”). In addition,

 5   “[i]n complex litigation with a plaintiff class, ‘partial settlements often play a vital role in resolving

 6   class actions.’” Agretti v. ANR Freight Sys., Inc., 982 F.2d 242, 247 (7th Cir. 1992) (quoting

 7   Manual for Complex Litigation Second, § 30.46 (1986)).

 8          Finally, the Settlement preserves Plaintiffs’ right to litigate against the non-settling

 9   defendants for the entire amount of Plaintiffs’ damages based on joint and several liability. See

10   Corrugated Container, 1981 WL 2093, at *17; Saveri Decl. ¶ 24 (Released claims do not preclude

11   Plaintiffs from pursuing any and all claims against other non-settling defendants for the sales

12   attributable to Thomson).

13                  2.      The Class Members’ Positive Reaction Favors Final Approval

14          There are no objections to the Settlement, and the reaction of the class to the Settlement

15   supports this Court granting final approval. Murray Decl. ¶ 10. In determining the fairness and

16   adequacy of a proposed settlement, the Court also should consider “the reaction of the class

17   members to the proposed settlement.” Churchill Village, 361 F.3d at 575; Hanlon, 150 F.3d at

18   1026. “It is established that the absence of a large number of objections to a proposed class action

19   settlement raises a strong presumption that the terms of a proposed class settlement action are

20   favorable to the class members.” Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523,

21   529 (C.D. Cal. 2004); see also, In re Fleet/Norstar Sec. Litig., 935 F. Supp. 99, 107 (D.R.I. 1996).

22          Pursuant to the Court’s order, approximately 17,787 Class Notices were mailed or

23   electronically mailed to class members throughout the United States. See Murray Decl. ¶¶ 4–5.

24   When presented with the material financial terms of the proposed Settlement, no members of the

25   class objected to the Settlement. Murray Decl. ¶ 10. In addition, only 16 class members opted out

26   of the class. See Murray Decl. ¶ 9. The reaction of the class to the proposed Settlement therefore

27   supports the conclusion that the proposed Settlement is fair, adequate and reasonable. Bynum v.

28   Dist. of Columbia, 412 F. Supp. 2d 73, 77 (D.D.C. 2006) (“The low number of opt outs and
                                                    14
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 1   objectors (or purported objectors) supports the conclusion that the terms of the settlement were

 2   viewed favorably by the overwhelming majority of class members.”); Pallas v. Pac. Bell, No. C-

 3   89-2373 DLJ, 1999 WL 1209495, at *8 (N.D. Cal. July 13, 1999) (“The small percentage—less

 4   than 1%—of persons raising objections is a factor weighing in favor of approval of the

 5   settlement.”). See also, Arnold v. Arizona Dept. of Pub. Safety, No. CV-01-1463-PHX-LOA, 2006

 6   WL 2168637, at *10 (D. Ariz. July 31, 2006); In re Patriot Am. Hospitality Inc. Sec. Litig., No.

 7   MDL C-00-1300 VRW, 2005 WL 3801594, at *2 (N.D. Cal. Nov. 30, 2005). The inference of

 8   class’s approval of the Settlement is even stronger where, as here, much of the class consists of

 9   sophisticated business entities. See Linerboard, 321 F. Supp. 2d at 629.

10                  3.      The Settlement Eliminates Significant Risk to the Class.

11          While Plaintiffs believe their case is strong, the Settlement eliminates significant risks they

12   would face if the action were to proceed. Plaintiffs would bear the burden of establishing liability,

13   impact and damages. See, e.g., Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 118 (2d Cir.

14   2005) (“‘Indeed, the history of antitrust litigation is replete with cases in which antitrust plaintiffs

15   succeeded at trial on liability, but recovered no damages, or only negligible damages, at trial, or on

16   appeal.’” (quoting In re NASDAQ Market-Makers Antitrust Litig., 187 F.R.D. 465, 475 (S.D.N.Y.

17   1998))); In re Sumitomo Copper Litig., 189 F.R.D. 274, 283 (S.D.N.Y. 1999). This is an important

18   consideration because Defendants have vowed to aggressively defend this action. Thus, the

19   Settlement is in the best interest of the Class because it eliminates the risks of continued litigation,

20   while at the same time creating a substantial cash recovery and obtaining cooperation from

21   Thomson in the ongoing litigation.

22          Continued litigation against Defendants also would involve significant additional expenses

23   and protracted legal battles, which are avoided through the Settlement. Larsen v. Trader Joe’s Co.,

24   No. 11-cv-05188-WHO, 2014 WL 3404531, at *4 (N.D. Cal. July 11, 2014) (“Avoiding such

25   unnecessary and unwarranted expenditure of resources and time would benefit all parties, as well

26   as conserve judicial resources . . . . Accordingly, the high risk, expense, and complex nature of the

27   case weigh in favor of approving the settlement.”) (cited authority omitted); In re Visa

28   Check/Mastermoney Antitrust Litig., 297 F. Supp. 2d 503, 510 (E.D.N.Y. 2003), aff’d 396 F.3d 96
                                                   15
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 1   (2d Cir. 2005) (“The potential for this complex litigation to result in enormous expense, and to

 2   continue for a long time, was great.”); In re Austrian and German Bank Holocaust Litig., 80 F.

 3   Supp. 2d 164, 174 (S.D.N.Y. 2000), aff’d sub nom. D’Amato v. Deutsche Bank, 236 F.3d 8 (2d Cir.

 4   2001) (“Most class actions are inherently complex and settlement avoids the costs, delays and

 5   multitude of other problems associated with them.”); Marisol A. ex rel. Forbes v. Giuliani, 185

 6   F.R.D. 152, 163 (S.D.N.Y. 1999), aff’d sub nom. Joel A. v. Giuliani, 218 F.3d 132 (2d Cir. 2000)

 7   (noting that trial would last at least five months and require testimony from numerous witnesses

 8   and experts).

 9                   4.     The Settlement Is the Product of Arm’s-Length Negotiations Between
                            the Parties and the Recommendation of Experienced Counsel Favors
10                          Approval.
11           This class action has been vigorously litigated. Class Counsel has analyzed millions of

12   documents produced by Defendants and others. They have also conducted an independent

13   investigation of the facts and analyzed Defendants’ sales and pricing data.

14           The negotiations leading to the Settlement were vigorous, informed, and thorough. The

15   Settlement is the product of arm’s-length negotiation by informed and experienced counsel. The

16   Settlement was reached after the parties engaged in face-to-face negotiations as well as numerous

17   telephone and email discussions. The negotiations were thorough and hard fought. They were

18   contested and conducted at arm’s-length in the utmost good faith. Saveri Decl. ¶ 22.

19           Counsel’s judgment that the Settlement is fair and reasonable is also entitled to great

20   weight. See Nat’l Rural Telcomms. Coop., 221 F.R.D. at 528 (“‘Great weight’ is accorded to the

21   recommendation of counsel, who are most closely acquainted with the facts of the underlying

22   litigation.”); accord Bellows v. NCO Fin. Sys., No. 3:07-dv-01413-W-AJB, 2008 U.S. Dist. LEXIS

23   103525, at *22 (S.D. Cal. Dec. 2, 2008); Wilkerson v. Martin Marietta Corp., 171 F.R.D. 273,

24   288–89 (D. Colo. 1997).

25           While the Plaintiffs believe they have meritorious claims, Defendants have asserted that

26   they have strong defenses that would serve to eliminate their liability and/or damage exposure to

27   the Class. The parties entered into the Settlement to eliminate the burden, and expense and risks of

28   further litigation.
                                                       16
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 1          For all of these reasons, the cash settlement obtained represents an excellent recovery and is

 2   certainly “fair, adequate and reasonable” to the Class. Accordingly, final approval should be granted.

 3
            D.      The Plan of Allocation Is “Fair, Adequate and Reasonable” and Therefore
 4                  Should Be Approved.

 5          The Class Notice, which was disseminated in accordance with the Preliminary Approval

 6   Orders, outlined the following proposed plan for allocating the settlement proceeds:

 7          In the future, each Settlement Class member’s pro rata share of the Settlement
            Fund will be determined by computing each valid claimant’s total CRT Product
 8          purchases divided by the total valid CRT Product purchases claimed. This
            percentage is multiplied to the Net Settlement Fund (total settlements minus all
 9          costs, attorneys’ fees, and expenses) to determine each claimant’s pro rata share
            of the Settlement Fund. To determine your CRT Product purchases, CRT tubes
10          (color display and color picture) are calculated at full value (100%) while CRT
            televisions are valued at 50% and CRT computer monitors are valued at 75%. In
11          summary, all valid claimants will share in the settlement funds on a pro rata basis
            determined by the CRT value of the product you purchased — tubes 100%,
12          monitors 75% and televisions 50%.
13   See Murray Decl., Ex. A, ¶ 9.
14          Plaintiffs received no objection to the plan of allocation. Id. ¶ 10.

15          A plan of allocation of class settlement funds is subject to the “fair, reasonable and

16   adequate” standard that applies to approval of class settlements. In re Citric Acid Antitrust Litig.,

17   145 F. Supp. 2d 1152, 1154 (N.D. Cal. 2001). A plan of allocation that compensates class members

18   based on the type and extent of their injuries is generally considered reasonable. In re Computron

19   Software, Inc., 6 F. Supp. 2d 313, 321 (D.N.J. 1998). Here the proposed distribution will be on a

20   pro rata basis, with no class member being favored over others. This type of distribution has

21   frequently been determined to be fair, adequate, and reasonable. See In re Dynamic Random Access

22   Memory (DRAM) Antitrust Litig., No. M-02-1486 PJH, Dkt. No. 2093, p.2 (Oct. 27, 2010) (Order

23   Approving Pro Rata Distribution); In re Vitamins Antitrust Litig., No. 99-197 TFH, 2000 WL

24   1737867, at *6 (D.D.C. Mar. 31, 2000) (“Settlement distributions, such as this one, that apportions

25   funds according to the relative amount of damages suffered by class members, have repeatedly

26   been deemed fair and reasonable.”); In re Lloyds’ Am. Trust Fund Litig., No. 96 Civ.1262 RWS,

27   2002 WL 31663577, at *19 (S.D.N.Y. Nov. 26, 2002) (“pro rata allocations provided in the

28   Stipulation are not only reasonable and rational, but appear to be the fairest method of allocating
                                                       17
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 1   the settlement benefits.”); In re PaineWebber Ltd. P’ships Litig., 171 F.R.D. 104, 135 (S.D.N.Y.

 2   1997), aff’d 117 F.3d 721 (2d Cir. 1997) (“pro rata distribution of the Settlement on the basis of

 3   Recognized Loss will provide a straightforward and equitable nexus for allocation and will avoid a

 4   costly, speculative and bootless comparison of the merits of the Class Members’ claims”).

 5            The Notice informed class members that they will submit their purchase information for

 6   both CRT tubes and finished products—televisions and monitors containing CRTs. All class

 7   members will share in the settlement funds on a pro rata basis determined by the CRT value of the

 8   product they purchased—tubes 100%, monitors 75% and televisions 50%.

 9            The proposed plan of allocation is identical to the plan of allocation previously approved by

10   the Court with CPT, Philips, Panasonic, LG Toshiba, Hitachi, and Samsung SDI settlements.

11   Saveri Decl. ¶ 29. Accordingly, the plan of allocation done on a pro rata basis in the instant case is

12   “fair, adequate and reasonable” to the Class and final approval of the plan of allocation should be

13   granted.

14   V.       NO OBJECTIONS BY CLASS MEMBERS
15            As indicated above, there were no objections to the Settlement. Murray Decl. ¶ 10.

16   VI.      EXCLUSIONS
17            Class members were advised of the right to be excluded from the Settlement Class, which

18   could be accomplished through mailing a request for exclusion to the Settlement Administrator

19   postmarked no later than August 10, 2015. Sixteen (16) requests for exclusion were received from

20   Class members. Murray Decl., ¶ 9, Ex. D.

21   VII.     CONCLUSION

22            For the foregoing reasons set forth herein, Plaintiffs respectfully submit that the Court

23   should enter an order granting final approval of the Settlement and final judgments of dismissal

24   with prejudice as to Thomson and TDA.

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 1   Dated: October 2, 2015                   Respectfully submitted,
 2                                            /s/ R. Alexander Saveri
                                              Guido Saveri (22349)
 3                                            R. Alexander Saveri (173102)
                                              Geoffrey C. Rushing (126910)
 4                                            Cadio Zirpoli (179108)
                                              Travis L. Manfredi (281779)
 5                                            SAVERI & SAVERI, INC.
                                              706 Sansome Street
 6                                            San Francisco, CA 94111
                                              Telephone: (415) 217-6810
 7                                            Facsimile: (415) 217-6813
 8                                            Lead Counsel For Direct Purchaser Plaintiffs
 9                                            Joseph W. Cotchett
                                              Steven N. Williams
10                                            Adam J. Zapala
                                              COTCHETT, PITRE & McCARTHY, LLP
11                                            840 Malcolm Road
                                              Burlingame, CA 94010
12                                            Telephone: (650) 697-6000
                                              Facsimile: (650) 697-0577
13
                                              Bruce L. Simon
14                                            Aaron M. Sheanin
                                              PEARSON, SIMON & WARSHAW LLP
15                                            44 Montgomery Street, Suite 2450
                                              San Francisco, CA 94104
16                                            Telephone: (415) 433-9000
                                              Facsimile: (415) 433-9008
17
                                              H. Laddie Montague, Jr.
18                                            Ruthanne Gordon
                                              Candice Enders
19                                            BERGER & MONTAGUE, P.C.
                                              1622 Locust Street
20                                            Philadelphia, PA 19103
                                              Telephone: (800) 424-6690
21                                            Facsimile: (215) 875-4604
22                                            Michael P. Lehmann
                                              HAUSFELD LLP
23                                            44 Montgomery Street, Suite 3400
                                              San Francisco, CA 94104
24                                            Telephone: (415) 633-1908
                                              Facsimile: (415) 358-4980
25

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                                            Gary Specks
 1                                          KAPLAN FOX
                                            423 Sumac Road
 2                                          Highland Park, IL 60035
                                            Telephone: (847) 831-1585
 3                                          Facsimile: (847) 831-1580
 4                                          Douglas A. Millen
                                            William H. London
 5                                          FREED KANNER LONDON & MILLEN
                                            2201 Waukegan Road
 6                                          Suite 130
                                            Bannockburn, IL 60015
 7                                          Telephone: (224) 632-4500
                                            Facsimile: (224) 632-4519
 8
                                            Eric B. Fastiff
 9                                          LIEFF CABRASER HEIMANN &
                                            BERNSTEIN, LLP
10                                          275 Battery Street, 29th Floor
                                            San Francisco, CA 94111-3339
11                                          Telephone: (415) 956-1000
                                            Facsimile: (415) 956-1008
12
                                            W. Joseph Bruckner
13                                          Elizabeth R. Odette
                                            LOCKRIDGE GRINDAL NAUEN P.L.L.P
14                                          100 Washington Avenue S
                                            Suite 2200
15                                          Minneapolis, MN 55401
                                            Telephone: (612) 339-6900
16                                          Facsimile: (612) 339-0981
17                                          Attorneys for Plaintiffs
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